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SHEEHAN & ASSOCIATES, P.C.
Spencer Sheehan
60 Cutter Mill Road, Suite 409
Great Neck, NY 11021
Tel: (516) 268-7080
Fax: (516) 234-7800
spencer@ spencersheehan.com

LAW OFFICE OF JAMES CHUNG
James Chung
43-22 216th Street
Bayside, NY 11361
Tel: (718) 461-8808
Fax: (929) 381-1019
jchung_77@msn.com

United States District Court
Southern District of New York
                                                               7:21-cv-00924
Timothy Lee, individually and on behalf of all
others similarly situated,

                              Plaintiff,
                - against -                                      Complaint

The Kingsford Products Company, LLC,

                              Defendant


           Timothy Lee (“Plaintiff”), based on personal knowledge, information and belief, and

investigation of counsel, alleges as follows:

     1.        The Kingsford Products Company, LLC (“Kingsford” or “Defendant”) engages in

deceptive business practices in the marketing, advertising and promotion of its 100% Natural

Hardwood Briquettes (“Product”), often described as “barbecue charcoals.”

     2.        Barbecuing is method of food preparation where food is cooked slowly at low

temperatures over indirect heat.
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      3.       This American cultural pastime dates to the colonial era, when the colonists were

introduced to this technique from the Native Americans, who had perfected this method.

     4.        In fact, it has been claimed that the first Thanksgiving feast was actually a barbecue.

     5.        The Native Americans and early colonists cooked their food using a form of

hardwood charcoal (“lump charcoal”), created through slowly burning wood pieces in the absence

of oxygen until all the natural chemicals, sap and moisture are removed.

     6.        Several hundred years later, a competitor to lump charcoal emerged in the form of

the briquette, commonly referred to as “barbecue charcoal,” specifically designed to provide more

efficient barbecuing to Americans.

     7.        Henry Ford popularized briquettes, and they increased in usage alongside

automobiles that took Americans to parts of the country they had never seen.

     8.        Ford’s earliest briquettes consisted of wood scraps – stumps, branches, sawdust,

etc. – that were left over from the wood used in Ford automobiles.

     9.        Though briquettes can be made with only natural ingredients, they typically contain

additives like starch, limestone, sodium nitrate, and sodium tetraborate pentahydrate (borax).

     10.       Starch is used as a binder to hold the numerous components together.

     11.       Limestone is used to provide light-ash color to the briquettes.

     12.       Sodium nitrate makes briquettes easier to light.

     13.       Borax is a synthetic chemical used to release the identically shaped briquettes from

their molds.

     14.       A growing number of consumers prefer lump charcoal to briquettes because it does

not contain fillers or additives, is more likely to be a natural product, burns hotter and lights faster

than briquettes and produces a smaller amount of ash after burning out.



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     15.        The Product is marketed as “100% Natural Hardwood Briquets” which delivers a

“Cleaner Burn.”




     16.        However, the representations are misleading because the Product is not (1) “100%

Natural” nor (2) “100% Natural Hardwood.”

     17.        Consumers expect a “100% Natural” charcoal product to contain only substances

derived from nature, without synthetic components and not be subjected to chemical processes

which alters their character and type.

     18.        The Product is not “100% Natural” because it contains synthetic ingredients such

as borax.

     19.        The Product is not “100% Natural Hardwood” because it contains wood scraps

including between 3 and 8 percent sawdust, instead of only hardwood, which is the source for


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lump charcoal.

     20.         The front label contains a graphic of a green flame accompanied by the statement

“Cleaner Burn*.”

     21.         The green flame and comparative claim give consumers the impression the Product

is beneficial, or less harmful to the environment, compared to other fire sources such as propane

gas and lump charcoal.

     22.         However, this representation is misleading because it is insufficiently and

inconspicuously qualified by an asterisk referring to small font on the bottom of the bag that notes

these attributes are only when the Product is “compared to Kingsford Original Charcoal.”




     23.          Moreover, numerous studies have shown that briquettes like the Product produce

higher levels of carbon dioxide than lump charcoal and propane and are thus more harmful to the

environment and cannot be said to result in a “cleaner burn” than any similar fire source.

     24.         Defendant’s misrepresentation and omissions were motivated to induce Plaintiff

and the Class to purchase the Product in reliance of the claims.

     25.         As a result of Defendant’s conduct and omissions, Plaintiff and the putative class


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purchased the Product, which failed to conform as promised.

      26.       They were deprived of the benefit of the bargain and suffered monetary loss.

      27.       Plaintiff and the Class lack the ability to test or verify Defendant’s claims at the

point of sale. Consumers would not know the true nature of the labeling merely by reading the

labels nor are they expected to know.

      28.       Plaintiff and the Class relied on the representations and omissions in deciding to

purchase the Product.

      29.       The product is worth less than bargained for. Plaintiff and the Class paid a price

premium for the Product.

      30.       Plaintiff and the Class did not obtain the full value of the Product due to

Defendant’s misrepresentations and omissions.

                                    JURISDICTION AND VENUE

      31.       This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2) (Class Action Fairness Act of 2005 or “CAFA”).

      32.       The aggregate claims of all members of the proposed class exceed $5 million,

exclusive of interest and costs, and there are more than 100 putative class members, and Plaintiff

and Defendant are citizens of different states.

      33.       This Court is the proper venue for this action because a substantial part of the events

giving rise to the claim occurred in this District.

      34.       Plaintiff and a substantial number of putative class members are residents of this

District.

      35.       This Court has personal jurisdiction over Defendant because it is authorized to do

business and does business in New York, has marketed, advertised and made sales in New York,



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and has sufficient minimum contacts with this state and/or sufficiently avails itself of the markets

of this state through its promotion, sales, and marketing within this state to render the exercise of

jurisdiction by this Court permissible.

                                             PARTIES

     36.        Plaintiff Timothy Lee is a citizen of Dutchess County, New York.

     37.        Plaintiff purchased the Product on at least one occasion, at Home Depot, 80

Independent Way SE, Brewster, NY 10509 between January 27, 2020 and July 27, 2020

     38.        Plaintiff purchased the product for personal and household use in reliance on the

labeling, including “100% Natural,” “100% Natural Hardwood” and “Cleaner Burn.” As a result

of the representations made by Defendant, Plaintiff expected the product to conform to the

descriptions.

     39.         Had Plaintiff known the truth about the misrepresentations and omissions, he

would not have purchased the Product.

     40.        Instead, he would have purchased a competing product that is less expensive.

     41.        Plaintiff cannot rely on the truthfulness of the Product in the future unless

Defendant makes corrective changes. Plaintiff may consider future purchases if Defendant

engages in corrective labeling and advertising or modifies the Product’s composition.

     42.        Defendant The Kingsford Products Company LLC is a Delaware limited liability

company with a principal place of business in Oakland, California, and upon information and

belief, at least one member of defendant is not a citizen of this state.

     43.        Defendant manufactures, markets, labels and sells its “100% Natural Hardwood

Briquettes” for between $13 - $16 for a 12-pound bag, available at convenience, grocery, home

improvement and other retail stores.



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     44.       Kingsford is the leading manufacturer of charcoal in the United States.

     45.       The labeling and advertising were designed to induce consumers to purchase the

Product.

                                    CLASS ALLEGATIONS

     46.        Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(a),

23(b)(2) and/or 23(b)(3) (“the Class”).

     47.       The proposed class consists of: All persons who purchased the Product in New

York during the relevant statute of limitations.

     48.       Plaintiff also seeks an injunctive relief class.

     49.       The members of the class are so numerous that joinder is impracticable.

     50.       Plaintiff's claims are typical of the claims of the entire class.

     51.       Plaintiff will fairly and adequately represent and protect the interests of the other

class members for purposes of Federal Rule of Civil Procedure 23(a)(4).

     52.       Plaintiff has no interests antagonistic to those of other class members.

     53.       Plaintiff is committed to the vigorous prosecution of this action and has retained

counsel experienced in class action litigation.

     54.       Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact exist as to all members of the class and predominate

over any questions affecting only individual members of the class.

     55.       Class certification under Federal Rule of Civil Procedure 23(b)(3) is superior to

other available methods for the fair and efficient adjudication of this controversy.

     56.       Since the damages suffered by individual class members may be relatively small,

the expense and burden of individual litigation make it virtually impossible for the class members



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to seek redress for the wrongful conduct alleged.

     57.       Plaintiff knows of no difficulty which will be encountered in the management of

this litigation which would preclude its maintenance as a class action.

     58.       Class members have suffered and will suffer irreparable harm and damages as a

result of Defendant’s wrongful conduct.

                                             COUNT I

        VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW §§ 349 & 350

     59.        Plaintiff incorporates by reference all preceding paragraphs.

     60.       Plaintiff brings this claim on behalf of himself and other members of the Class for

violations of New York’s Deceptive Acts or Practices Law, Gen. Bus. Law §§ 349 & 350.

     61.       Defendant’s business acts and practices and/or omissions constitute deceptive acts

or practices under NY GBL §§ 349 & 350, enacted to protect the public from unconscionable,

deceptive or unfair acts or practices in the conduct of any business.

     62.       The practices of Defendant described throughout this Complaint were specifically

directed to consumers.

     63.       Defendant’s actions impact the public at large because Plaintiff and members of the

Class were injured in the same way as thousands of others purchasing the Product as a result of

Defendant’s deceptive conduct.

     64.       By committing the acts alleged in this Complaint, Defendant materially misled

Plaintiff and the Class into purchasing the Product, in part or in whole, due to an erroneous belief

that the Product has qualities that it does not have.

     65.       The representations are unfair, deceptive, and misleading.

     66.       Defendant’s claims materially misled Plaintiff and are likely in the future to mislead



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reasonable consumers.

     67.       Had Plaintiff and members of the Class known of the true facts about the Product,

they would not have purchased the Product and/or paid substantially less for competing product.

     68.       Defendant’s violations proximately caused Plaintiff and other members of the Class

to suffer actual damages in the form of, inter alia, monies spent to purchase the Product.

     69.       Plaintiff and class members are entitled to recover such damages, together with

equitable and declaratory relief, appropriate damages, including punitive damages, attorneys' fees

and costs.

                                           COUNT II

                                  Breach of Express Warranty

     70.       Plaintiff incorporates by reference all preceding paragraphs.

     71.       Defendant made promises in the form of written warranties representing that the

Product was “100% Natural” and “100% natural hardwood.”

     72.       Inherent in that promise is Defendant’s representation that the Product does not

contain substances that it did.

     73.       Defendant further misrepresented that the Product burns cleaner than alternatives

such as lump charcoal and propane.

     74.       These representations became part of the bargain and were material to Plaintiff and

the Class in the decision to purchase the Product.

     75.       Plaintiff and the Class relied on Defendant’s misrepresentation and justifiably acted

in ignorance of the material facts omitted or concealed when they decided to purchase the Product.

     76.       Plaintiff relied upon Defendant’s expressed warranties regarding its specialized

knowledge, expertise, experience, skills, and judgment to properly perform its duties in a manner



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that would not present an unreasonable risk of harm or place an undue burden upon Plaintiff.

      77.        Defendant breached the express warranty since the Product is not what it claims to

be.

      78.        As a direct and proximate result of Defendant’s breach, Plaintiff and the Class were

damaged in the amount to be proven at trial.

                                             COUNT III

              Breaches of Express Warranty, Implied Warranty of Merchantability
                  and Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.
      79.        Plaintiff incorporates by reference all preceding paragraphs.

      80.        At all times relevant hereto Defendant was under a duty imposed by law requiring

that a manufacturer’s and merchant’s product be reasonably fit for the ordinary purposes for which

the product is used, and that the product be acceptable in trade for the product description.

      81.        This implied warranty of merchantability is part of the basis for the bargain between

Defendant on the one hand, and Plaintiff and class members on the other.

      82.        Notwithstanding the aforementioned duty, at the time of delivery, Defendant

breached the implied warranty of merchantability in that it failed to perform as described and failed

to conform to the standard described by Defendant in its marketing and representation.

      83.        Defendant knew or should have known that selling such a Product to Plaintiff and

class members constituted a breach of the implied warranty of merchantability.

      84.        As a direct and proximate result of Defendant’ breach of the implied warranty of

merchantability, Plaintiff and class members bought the Product without knowledge of their non-

conformance.

      85.        As a direct and proximate result of Defendant’ breach of the implied warranty of

merchantability, Plaintiff and class members purchased the Product, which could not be used for

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its intended purpose.

     86.       As a direct and proximate result of Defendant’ breach of the implied warranty of

merchantability, Plaintiff and class members have suffered damages and did not receive the benefit

of their bargain.

     87.       Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

     88.       Defendant received notice and should have been aware of these misrepresentations

due to numerous complaints by consumers to its main office over the past several years regarding

the Product, of the type described here.

     89.       Defendant was unjustly enriched by keeping the profits from sale of the Product.

     90.       As a direct and proximate result of Defendant’s breach of the implied warranty of

merchantability, plaintiff and class members have suffered loss.

                                           COUNT IV

                          NEGLIGENT MISREPRESENTATION

     91.       Plaintiff incorporates by reference all preceding paragraphs.

     92.       Defendant, directly or through their agents and employees, made false

representations, concealments, and omissions to Plaintiffs and members of the Class.

     93.       Defendant has failed to fulfill their duties to disclose the material facts in making

the representations to Plaintiff and members of the Class.

     94.       The direct and proximate cause of this failure to disclose was Defendant’s

negligence and carelessness.

     95.       Defendant knew or reasonably should have known that the representations were not

true. Defendant made and intended the misrepresentations to induce the reliance of Plaintiff and



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members of the Class.

     96.       Plaintiff and members of the Class would have acted differently had they not been

misled. They would not have paid money, paid less money or purchased an alternative product.

     97.       Defendant has an obligation to correct the misinformation that was disseminated

through their advertising of the Product. By not informing Plaintiffs and members of the Class,

Defendant breached their duty. Defendant also profited financially as a result of this breach.

     98.       Plaintiff and members of the Class relied upon these false representations and

omissions by Defendant when purchasing the Products, upon which reliance was justified and

reasonably foreseeable.

     99.       Plaintiff and members of the Class have suffered and continue to suffer economic

losses and other general and specific damages, including but not limited to the amounts paid for

Product, and any interest that would have been accrued on all those monies, the specific amount

to be determined at trial.

     100.      Defendant acted with intent to defraud, or with reckless or negligent disregard of

the rights of Plaintiff and members of the Class.

     101.      Plaintiff and members of the Class are entitled to punitive damages.

                                           COUNT V

                                             FRAUD

     102.      Plaintiff incorporates by reference all preceding paragraphs.

     103.      Defendant intentionally made materially false and misleading representations

regarding the Product.

     104.      Plaintiff and members of the Class were induced by, and relied on, Defendant’s

false and misleading packaging, representations and omissions and did not know at the time that



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they were purchasing a product that did not consist of components or perform as claimed.

     105.      Defendant knew or should have known of their false and misleading labeling,

packaging and misrepresentations and omissions.

     106.      Nevertheless, Defendant continued to promote and market the product in a

deceptive and misleading manner to induce customers to purchase the Product.

     107.      As a proximate result of Defendant’s conduct, Plaintiff and members of the Class

suffered damages in an amount to be determined at trial.

                                           COUNT VI

                                   UNJUST ENRICHMENT

     108.      Plaintiff incorporates by reference all preceding paragraphs.

     109.      Defendant received proceeds from their sale of the goods, which were purchased

by Plaintiff and the Class for an amount far greater than the reasonable value because the Product

did not conform to the description and did not perform as promised.

     110.      Plaintiff and the Class reasonably believed that the Defendant’s goods would

function as advertised and warranted, and did not know, nor could have known, that the Product

would not perform as promised at the time of purchase.

     111.      Defendant knows of and appreciates the benefit conferred by Plaintiff and the Class

and has retained the benefit notwithstanding their knowledge that the benefit is unjust.

     112.      It is against equity and good conscience to permit Defendant to retain the ill-gotten

benefits received from Plaintiff and the Class given that product was not what Defendant purported

them to be.

     113.      It would be unjust and inequitable for Defendant to retain the benefit, warranting

disgorgement to Plaintiff and the Class of all monies paid for the product, and/or all monies paid



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for which Plaintiffs and the Class did not receive benefit.

                                         Prayer for Relief

       WHEREFORE, Plaintiff, individually and on behalf of all members of the Class, pray for

judgment as follows:


               A. Certifying the proposed Class as requested herein;

               B. Declaring that Defendant is financially responsible for notifying the Class

       members of the pendency of this suit;

               C. Declaring that Defendant has committed the violations of law alleged herein;

               D. Providing for any and all injunctive relief the Court deems appropriate;

               E. Awarding statutory damages in the maximum amount for which the law

       provides;

               F. Awarding monetary and statutory damages including but not limited to any

       compensatory, incidental, or consequential damages in an amount that the Court or jury

       will determine, in accordance with applicable law;

               G. Providing for any and all equitable monetary relief the Court deems appropriate;

               H. Awarding punitive or exemplary damages in accordance with proof and in an

       amount consistent with applicable precedent;

               I. Awarding Plaintiffs their reasonable costs and expenses of suit, including

       attorneys’ fees;

               J. Awarding pre- and post-judgment interest to the extent the law allows; and

               K. For such further relief as this Court may deem just and proper.

                                            JURY DEMAND




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Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a trial by jury on

all claims so triable.

February 2, 2021 Respectfully submitted,

                                                            /s/ Spencer Sheehan
                                                           Sheehan & Associates, P.C.
                                                           Spencer Sheehan
                                                           60 Cutter Mill Road, Suite 409
                                                           Great Neck, NY 11021
                                                           Tel: (516) 260-7080
                                                           Fax:(516) 234-7800
                                                           spencer@spencersheehan.com

                                                           Law Office of James Chung
                                                           James Chung
                                                           43-22 216th Street
                                                           Bayside, NY 11361
                                                           Tel: (718) 461-8808
                                                           Fax: (929) 381-1019
                                                           jchung_77@msn.com

                                                           Attorneys for Plaintiff




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7:21-cv-00924
United States District Court
Southern District of New York

Timothy Lee, individually and on behalf of all others similarly situated,


                                         Plaintiff,


        - against -


The Kingsford Products Company, LLC,


                                         Defendant




                                   Class Action Complaint



                       Sheehan & Associates, P.C.
                        60 Cutter Mill Rd Ste 409
                         Great Neck NY 11021-3104
                            Tel: (516) 268-7080
                            Fax: (516) 234-7800




Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: February 2, 2021
                                                                            /s/ Spencer Sheehan
                                                                             Spencer Sheehan
